                 Case 2:18-cv-02660-JAM-DB Document 44 Filed 02/08/21 Page 1 of 2


     BRIAN M. BOYNTON
 1
     Acting Assistant Attorney General
 2   Civil Division
     ALEXANDER K. HAAS
 3   Director, Federal Programs Branch
     JACQUELINE COLEMAN SNEAD
 4
     Assistant Branch Director, Federal Programs Branch
 5   JOSEPH BORSON (Va. Bar No. 85519)
     KEVIN SNELL (NY Bar)
 6   Trial Attorneys
 7   U.S. Department of Justice
     Civil Division, Federal Programs Branch
 8   1100 L St. NW
     Washington, DC 20530
 9   Telephone: (202) 305-0924
10   Fax: (202) 616-8460
     E-mail: Kevin.Snell@usdoj.gov
11
     Attorneys for the United States
12
                                            UNITED STATES DISTRICT COURT
13
                                        EASTERN DISTRICT OF CALIFORNIA
14
      THE UNITED STATES OF AMERICA,
15
                               Plaintiff,                Case No. 2:18-cv-2660-JAM-DB
16
17          v.                                           PLAINTIFF’S NOTICE OF DISMISSAL
18    THE STATE OF CALIFORNIA;                           Judge: The Hon. John A. Mendez
19    GAVIN C. NEWSOM, Governor of                       Hearing Scheduled: Feb. 23, 2021, 1:30 p.m.
      California, in his Official Capacity, and
20    XAVIER BECERRA, Attorney General
      of California, in his Official Capacity,
21
22                           Defendants.

23
24
25
26
27
28

     Plaintiff’s Notice of Dismissal
                Case 2:18-cv-02660-JAM-DB Document 44 Filed 02/08/21 Page 2 of 2


                Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff the United States of
 1
 2   America, by and through its counsel, hereby gives notice of its voluntary dismissal of this case. 1

 3
     Dated: February 8, 2021                       Respectfully submitted,
 4
 5                                                 BRIAN M. BOYNTON
                                                   Acting Assistant Attorney General
 6                                                 Civil Division
 7                                                 ALEXANDER K. HAAS
                                                   Director, Federal Programs Branch
 8
 9                                                 JACQUELINE COLEMAN SNEAD
                                                   Assistant Branch Director, Federal Programs Branch
10
11
12                                                 /s/ Kevin Snell
13                                                 JOSEPH BORSON (Va. Bar No. 85519)
                                                   KEVIN SNELL (NY Bar)
14                                                 Trial Attorneys
15                                                 U.S. Department of Justice
                                                   Civil Division, Federal Programs Branch
16                                                 1100 L St. NW
                                                   Washington, DC 20530
17                                                 Telephone: (202) 305-0924
18                                                 Fax: (202) 616-8460
                                                   E-mail: Kevin.Snell@usdoj.gov
19
                                                   Attorneys for the United States
20
21
22
23
24
                1
              This Court ordered the parties to file a status conference statement by February 9, 2021,
25   “informing the Court whether the United States of America intends to pursue this case further, or
26   whether, upon review by the Biden Administration, it will file a stipulation or motion to dismiss
     this lawsuit.” See Jan. 15, 2021 Minute Order. The United States understands that deadline to be
27   moot given its voluntary dismissal of this action. See Fed. R. Civ. P. 41(a)(1)(A)(i) (allowing for
     voluntary dismissal by plaintiff where opposing party has not served either an answer or a motion
28
     for summary judgment).


     Plaintiff’s Notice of Dismissal                   -1-
